807 F.2d 175Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Noah Lee FAULK, Appellant,v.Allyn R. SIELAFF, Director of Virginia Department ofCorrections;  Appellee,
    No. 86-7564.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 7, 1986.Decided Dec. 10, 1986.
    
      Before CHAPMAN, WILKINSON and WILKINS, Circuit Judges
      Noah Lee Faulk, appellant pro se.
      Todd Edward LePage, Office of the Attorney General of Virginia, for appellee.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Faulk v. Sielaff, CA-85-509-N (E.D.Va., March 11, 1986).
    
    
      2
      DISMISSED.
    
    